Case 1:20-cv-06294-MKB-SJB Document 6 Filed 02/15/21 Page 1 of 1 PageID #: 39



SHAKED LAW GROUP, P.C.
14 Harwood Court, Suite 415
Scarsdale, NY 10583
Tel: (917) 373-9128
Email: ShakedLawGroup@gmail.com
Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 PEDRO MARTINEZ,

                                           Plaintiff,              Case No. 1:20-cv-6294-MKB-SJB

                           - against -

 WINC, INC.,

                                            Defendants.
 -----------------------------------------------------------X

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                 Pedro Martinez, by his attorneys, Shaked Law Group, P.C., and pursuant to FRCP

41(a)(1)(A)(i), hereby provides notice of voluntary dismissal, with prejudice, and without costs

or attorneys’ fees, of the above-referenced matter against Winc, Inc. No Answer has been filed

in this case.

Dated: Scarsdale, New York
       February 15, 2021
                                                        SHAKED LAW GOUP, P.C.
                                                        Attorneys for Plaintiff

                                                    By:_/s/Dan Shaked____________
                                                      Dan Shaked (DS-3331)
                                                      14 Harwood Court, Suite 415
                                                      Scarsdale, NY 10583
                                                      Tel. (917) 373-9128
                                                      Fax (718) 704-7555
                                                      e-mail: ShakedLawGroup@Gmail.com
